         Case 4:20-cr-00052-O Document 1 Filed 02/25/20                Page 1 of 2 PageID 1
                                                                           C!   -r.~.riv
                                                                                 .., -
                                                                                 ur
                                                                            -~.:.r "   i'tr--·-.
                                                                            UOORJNE:iiA' or.(l{_corpourn
                                                                            F Rf Won""T"u ~ L JJ· TX
            I "I   I           IN THE UNITED STATES DISTRICT COURT   Fil'H8 '~ 151 0II      1

OR\ G\N'1/\L                    FOR THE NORTHERN DISTRICT OF T~B
                                        FORT WORTH DIVISION        - 25 PN 3: lj.J

    UNITED STATES OF AMERICA

    v.                                                    No.

    SHARROCCA BLOCKER (01)
                                                                   4-20CR-os 2 ... 0

                                               INFORMATION

    The United States Attorney Charges:

                                                  Count One
                                    Aiding and Assisting in the Preparation
                               and Presentation of a False and Fraudulent Return
                                      (Violation of26 U.S.C. § 7206(2))

            On or about January 26, 2017, in the Fort Worth Division of the Northern District of

    Texas, defendant Sharrocca Blocker, did knowingly and willfully aid and assist in, and

    procure, counsel, and advise the preparation and presentation to the Internal Revenue Service

    of a U.S. Individual Income Tax Return, Form 1040, of taxpayer J.Y. for the calendar year

    2016, that was false and fraudulent as to a material matter, in that it represented that taxpayer

    J.Y. was entitled under the Internal Revenue laws to claim a Schedule C business net profit

    of$15,000 when, as the defendant knew, the taxpayer was not entitled to claim a net profit in

    the amount claimed.




    Information- Page 1 of 2
  Case 4:20-cr-00052-O Document 1 Filed 02/25/20            Page 2 of 2 PageID 2




        In violation of 26 U.S.C. § 7206(2).




                                          ERIN NEALY COX
                                          UNITED STATES ATTORNEY


                                          ~~b-v
                                          DwdiZA. ALLEN
                                          Assistant United States Attorney
                                          State Bar of Texas No. 24011525
                                          Burnett Plaza, Suite 1700
                                          801 Cherry Street, Unit #4
                                          Fort Worth, Texas 76102
                                          Telephone: 817-252-5200
                                          Facsimile: 817-252-5455




Information- Page 2 of 2
